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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                            Chapter     11                                                      ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                        06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              The Apostolic Assembly of Love



    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  7      6 – 0     1   6    4   5    2   9
       Identification Number (EIN)



    4. Debtor's address                           Principal place of business                                   Mailing address, if different from principal place of
                                                                                                                business

                                                  8042 Braniff St.
                                                  Number           Street                                       Number        Street

                                                                                                                 Po Box 742752
                                                                                                                P.O. Box
                                                  Houston, TX 77061
                                                  City                                   State   ZIP Code        Houston, TX 77274-2752
                                                                                                                City                              State      ZIP Code


                                                  Harris                                                        Location of principal assets, if different from principal
                                                  County                                                        place of business


                                                                                                                Number        Street




                                                                                                                City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ✔
                                                  ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ❑      Partnership (excluding LLP)

                                                  ❑      Other. Specify:




Official Form 201                                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 1
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Debtor      The Apostolic Assembly of Love                                                                       Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ✔
                                                ❑    Tax-exempt entity (as described in 26 U.S.C. §501)

                                                ❑    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

                                                ❑    Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .


    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑    Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑    Chapter 9
     debtor” must check the first subbox. A     ✔
                                                ❑    Chapter 11. Check all that apply:
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V             ❑     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                          operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                            exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ✔
                                                      ❑     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                            debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                            proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                            balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                            any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     A plan is being filed with this petition.

                                                      ❑     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                            accordance with 11 U.S.C. § 1126(b).
                                                      ❑     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                            Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                            (Official Form 201A) with this form.
                                                      ❑     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                                ❑    Chapter 12

    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes.   District                                       When                    Case number
                                                                                                               MM / DD / YYYY
     If more than 2 cases, attach a                       District                                      When                     Case number
     separate list.                                                                                            MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes.   Debtor                                                                 Relationship

     List all cases. If more than 1, attach a             District                                                               When
     separate list.                                                                                                                            MM / DD / YYYY
                                                          Case number, if known




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor        The Apostolic Assembly of Love                                                                       Case number (if known)
             Name


  11. Why is the case filed in this      Check all that apply:
      district?
                                         ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         ❑
                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                         ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have        ✔ No
                                         ❑
      possession of any real
      property or personal property
                                         ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?                                      ❑     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                            What is the hazard?


                                                      ❑     It needs to be physically secured or protected from the weather.
                                                      ❑     It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                            (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                            options).
                                                      ❑     Other
                                                      Where is the property?
                                                                                 Number         Street




                                                                                 City                                           State       ZIP Code
                                                      Is the property insured?
                                                      ❑ No
                                                      ❑ Yes.        Insurance agency
                                                                    Contact name
                                                                    Phone

          Statistical and administrative information

         13. Debtor’s estimation of      Check one:
             available funds?            ❑ Funds will be available for distribution to unsecured creditors.
                                         ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                         ❑
                                               creditors.

         14. Estimated number of
                                          ✔
                                          ❑      1-49 ❑ 50-99                   ❑       1,000-5,000 ❑ 5,001-10,000          ❑    25,001-50,000 ❑ 50,000-100,000
             creditors                    ❑      100-199 ❑       200-999        ❑       10,001-25,000                       ❑    More than 100,000


         15. Estimated assets             ❑      $0-$50,000                        ✔
                                                                                   ❑      $1,000,001-$10 million                ❑       $500,000,001-$1 billion
                                          ❑      $50,001-$100,000                  ❑      $10,000,001-$50 million               ❑       $1,000,000,001-$10 billion
                                          ❑      $100,001-$500,000                 ❑      $50,000,001-$100 million              ❑       $10,000,000,001-$50 billion
                                          ❑      $500,001-$1 million               ❑      $100,000,001-$500 million             ❑       More than $50 billion




Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
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Debtor        The Apostolic Assembly of Love                                                                        Case number (if known)
             Name



                                            ❑    $0-$50,000                            ❑   $1,000,001-$10 million                  ❑    $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑    $50,001-$100,000                      ❑   $10,000,001-$50 million                 ❑    $1,000,000,001-$10 billion
                                            ❑    $100,001-$500,000                     ❑   $50,000,001-$100 million                ❑    $10,000,000,001-$50 billion
                                            ✔
                                            ❑    $500,001-$1 million                   ❑   $100,000,001-$500 million               ❑    More than $50 billion



           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                    Executed on     07/03/2023
                                                                    MM/ DD/ YYYY



                                                ✘ /s/ Louis Willie Osborne, Jr.                                        Printed name
                                                                                                                                       Louis Willie Osborne, Jr.
                                                    Signature of authorized representative of debtor


                                                    Title                        President



         18. Signature of attorney
                                                ✘                     /s/ Susan Tran Adams                             Date      07/03/2023
                                                                                                                                 MM/ DD/ YYYY
                                                    Signature of attorney for debtor



                                                     Susan Tran Adams
                                                    Printed name

                                                     TRAN SINGH, LLP
                                                    Firm name

                                                     2502 La Branch St.
                                                    Number          Street


                                                     Houston                                                              TX               77004
                                                    City                                                                 State             ZIP Code



                                                                                                                           stran@ts-llp.com
                                                    Contact phone                                                         Email address



                                                     24075648                                                              TX
                                                    Bar number                                                            State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:

 Debtor name                        The Apostolic Assembly of Love

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                       12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     Amex                                                                    Credit Card                                                                          $853.00
      Correspondence/Bankruptcy
      PO Box 981540
      El Paso, TX 79998-1540

2     Chase Card Services                                                     Credit Card                                                                          $920.00
      Attn: Bankruptcy
      PO Box 15298
      Wilmington, DE 19850

3     Resurgent Capital Services/                                             Credit Card                                                                          $521.00
      Conn's
      Attn: Bankruptcy
      P.O. Box 1927
      Greenville, SC 29603
4     Sam's Club/Synchrony Bank                                               Credit Card                                                                         $3,250.00
      P.O. Box 530981
      Atlanta, GA 30353-0981


5     Southwest Credit Systems                                                Credit Card                                                                         $2,430.00
      4120 International Parkway #100
      Carrollton, TX 75007


6     Synchrony Bank/Amazon                                                   Credit Card                                                                         $4,782.00
      Attn: Bankruptcy
      PO Box 965060
      Orlando, FL 32896-5060

7




8




Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 1
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Debtor       The Apostolic Assembly of Love                                                                   Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
9




10




11




12




13




14




15




16




17




18




19




20




Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                      SOUTHERN DISTRICT OF TEXAS
                                                            HOUSTON DIVISION

IN RE: The Apostolic Assembly of Love                                                 CASE NO

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      07/03/2023            Signature                            /s/ Louis Willie Osborne, Jr.
                                                                   Louis Willie Osborne, Jr., President
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                      8301 Braniff, LLC
                      710 North Post Oak Rd. Suite 208
                      Houston, TX 77024




                      Amex
                      Correspondence/Bankruptcy
                      PO Box 981540
                      El Paso, TX 79998-1540



                      AMI Lenders Inc.
                      710 North Post Oak Ste 208
                      Houston, TX 77024




                      Chase Card Services
                      Attn: Bankruptcy
                      PO Box 15298
                      Wilmington, DE 19850



                      Resurgent Capital Services/
                      Conn's
                      Attn: Bankruptcy
                      P.O. Box 1927
                      Greenville, SC 29603


                      Sam's Club/Synchrony Bank
                      P.O. Box 530981
                      Atlanta, GA 30353-0981




                      Smith & Smith, Attorneys at
                      Law
                      710 North Post Oak Rd. Suite 209
                      Houston, TX 77024



                      Southwest Credit Systems
                      4120 International Parkway #100
                      Carrollton, TX 75007
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                      Synchrony Bank/Amazon
                      Attn: Bankruptcy
                      PO Box 965060
                      Orlando, FL 32896-5060
